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                                                               Hearing Date: February 7, 2017 at 10:00 a.m. (ET)




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 in its capacity as successor administrative agent under                       Lenders/Steering Committee
 the Second Lien Credit Agreement

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 -------------------------------------------------------------------   x
 In re:                                                                :
                                                                       : Chapter 11
 SUNEDISON, INC., et al.,                                              : Case No. 16-10992 (SMB)
                                                                       : (Jointly Administered)
                                                                       :
                                     Debtors.                          :
 -------------------------------------------------------------------   x

              WILMINGTON SAVINGS FUND SOCIETY, FSB’S RESPONSE TO
                    OBJECTIONS TO PROOF OF CLAIM NO. 3555




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           Wilmington Savings Fund Society, FSB (“WSFS”), in its capacity as successor

 administrative agent under the Second Lien Loan (defined below) and the Tranche B

 Lenders/Steering Committee 1 respectfully submit this response to BOKF, N.A.’s (“BOKF”)

 Objection to Proof of Claim No. 3555 (the “BOKF Claim Objection”) and to the Second and

 Third Causes of Action in the Complaint filed by the Official Committee of Unsecured Creditors

 (“Committee”) in Adversary Proceeding No. 16-01228 (the “Committee’s Claim Objection,” and

 with the BOKF Claim Objection, the “Claim Objections”). The facts relied on herein are taken

 from the Claim Objections and matters of which the Court may properly take judicial notice.


                                          PRELIMINARY STATEMENT

           BOKF and the Committee rely on tax principles to argue that a claim in bankruptcy

 should be disallowed in part based on the inclusion of unmatured interest because, for tax law

 purposes, the underlying credit transaction would be characterized as embodying original issue

 discount (“OID”). The Court should overrule the Claim Objections for this reason alone: Tax

 law does not dictate the treatment of a claim in bankruptcy. There also is no controlling

 precedent that would support characterizing a fully earned closing fee or fully paid equity kicker

 as unmatured interest, or treating the value of warrants as OID despite the plain terms of the

 Credit Agreement (defined below). In fact, in the lead authority in this area, LTV Corp. v. Valley

 Fidelity Bank & Trust Co. (In re Chateaugay Corp.), 961 F.2d 378 (2d Cir. 1992)

 (“Chateaugay”), noteholders simultaneously received stock in connection with the notes at issue,

 and yet their claim in bankruptcy was not deemed to include unmatured interest on account of

 such stock. The Second Circuit also cautioned against an interpretation of “unmatured interest”


 1
     The Tranche B Lenders/Steering Committee consists of the lenders referenced in the Verified Statement Pursuant
     to Bankruptcy Rule 2019 dated December 22, 2016. See Doc. 1977.



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 and Section 502(b) of the Bankruptcy Code that would deter lenders from cooperating with

 distressed companies in an effort to avoid bankruptcy, ultimately ruling that relying on the Tax

 Code to determine the allowance of a claim would result in just such an outcome. The same

 result is warranted here. The Credit Agreement should be enforced as written, and the Claim

 Objections should be overruled.

                                                  BACKGROUND 2

           1.       On September 22, 2016, WSFS filed the Claim on account of the $725 million

 loan (the “Second Lien Loan”) made by certain lenders to SunEdison, Inc. (“SunEdison”)

 pursuant to the Second Lien Credit Agreement dated January 11, 2016 (the “Credit

 Agreement”). 3 The Second Lien Loan consists of a $500 million Tranche A-1 loan (“Tranche A-

 1”) and a $225 million Tranche A-2 loan, and was issued with approximately 28.7 million

 warrants to acquire SunEdison common stock (the “Warrants”). See Credit Agreement § 6.19.

 The Second Lien Loan was part and parcel of a complex workout that included an exchange for

 private notes whereby SunEdison issued approximately $225 million of new second lien notes

 (to some of the same creditors that provided the Second Lien Loan) in exchange for

 approximately $336 million of existing unsecured convertible notes (the “Notes Exchange,” and

 with the Second Lien Loan, the “January Workout”). See Compl. ¶ 140. Additionally, the

 January Workout included exchanges of other debt into equity, and preferred stock into common.




 2
     Citations to docket entries in the main bankruptcy case, No. 16-10992 (SMB), are cited as “Doc. __.” Citations to
     docket entries in Adversary Proceeding No. 16-01228 (SMB) are cited as “AP Doc. __.” Citations to the BOKF
     Claim Objection are cited as “BOKF Br. __” and citations to the Committee’s Claim Objection are cited as
     “Compl. ¶ __.”
 3
     The Credit Agreement is attached hereto as Exhibit 1. Because the attachments to the Credit Agreement are
     voluminous, only Exhibit C-1 and C-2 to the Credit Agreement (i.e., the form of the Tranche A-1 and Tranche A-
     2 Notes) are included in Exhibit 1. The Amendment to the Second Lien Credit Agreement dated as of June 9,
     2016 is attached as Exhibit 2.



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 See Sun Edison Inc., Current Report (Form 8-K) (Jan. 7, 2016) (“1/7/16 8-K”). 4 Through the

 January Workout, SunEdison creditors allowed the debtors to eliminate $355 million of debt, and

 reduce their net annual interest expense. See id.

           2.       On October 20, 2016, BOKF objected to the Claim because of alleged OID

 associated with the Second Lien Loan. See Doc. 1455. BOKF argues that two aspects of the

 Second Lien Loan should be recharacterized as embodying OID and therefore “unmatured

 interest” that should be disallowed under Section 502(b)(2) of the Bankruptcy Code. First,

 BOKF argues that Tranche A-1 is subject to $20 million of OID (the “Tranche A-1 OID”)

 because, after paying $20 million upfront fees to the Tranche A-1 lenders, SunEdison received

 $480 million in exchange for a $500 million principal obligation. The purported basis for

 BOKF’s Tranche A-1 OID argument is Section 2.09(a) of the Credit Agreement, which obligated

 SunEdison to pay a 4.00% fee (i.e., $20 million) on the Tranche A-1 loan (the “Tranche A-1

 Closing Fee”). Second, BOKF alleges that the Warrants issued to the Tranche A-1 and Tranche

 A-2 lenders collectively generated $84 million of OID, based on the market value of the

 Warrants at issuance (the “Warrant OID”). 5 On October 20, 2016, the Committee filed a

 complaint against WSFS and others seeking various forms of relief, including disallowance of

 the Claim on account of OID. Specifically, the Committee objected to the Warrant OID in Count

 2 of the Complaint and to the Tranche A-1 OID in Count 3 of the Complaint for substantially the

 same reasons articulated in the BOKF Claim Objection. See Compl. ¶¶ 158–171. At the

 Committee’s request, WSFS and the Tranche B Lenders/Steering Committee agreed to treat

 Counts 2 and 3 of the Complaint as claim objections that commenced a contested matter in

 4
     The 1/7/16 8-K is attached hereto as Exhibit 3.
 5
     If in fact $84 million of OID was created and if such OID constituted unmatured interest under the Bankruptcy
     Code, then $9 million of such unmatured interest accreted before the petition date, leaving a net $75 million of
     alleged unmatured interest.



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 accordance with Rules 3007 and 9014 of the Federal Rules of Bankruptcy Procedure. See AP

 Doc. 8.

                                              ARGUMENT

 I.        The Tranche A-1 Closing Fee Should Not be Recharacterized as Original Issue
           Discount.

           3.     The Claim Objections must be overruled with respect to the Tranche A-1 Closing

 Fee because the Credit Agreement makes clear that the Second Lien Loan was not issued with

 $20 million of OID (i.e., unmatured interest). The plain language of Section 2.09(a) of the

 Credit Agreement obligated SunEdison to pay a “closing fee” equal to 4.00% of the principal

 amount of the Tranche A-1 loan at closing (i.e., $20 million):

           Borrower agrees to pay on the Closing Date to each Lender party to this
           Agreement as a Lender of Tranche A-1 Term Loans on the Closing Date, as fee
           compensation for the funding of such Lender’s Tranche A-1 Term Loan, a closing
           fee in an amount equal to 4.00% of the stated principal amount of such Lender’s
           Tranche A-1 Term Loan, payable to such Lender from the proceeds of its Tranche
           A-1 Term Loan as and when funded on the Closing Date. Such closing fee will be
           in all respects fully earned, due and payable on the Closing Date and non-
           refundable and non-creditable thereafter.

 Credit Agreement § 2.09 (emphasis added).

           4.     Unmatured interest is interest that is not yet due and payable. See Thrifty Oil Co.

 v. Bank of America Nat. Trust and Sav. Ass’n, 322 F.3d 1039, 1046 (9th Cir. 2002). By the

 express terms of the Credit Agreement, the 4.00% fee that was “fully earned” and “due and

 payable on the Closing Date” is not unmatured interest that can be disallowed under Section

 502(b)(2) of the Bankruptcy Code.




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           5.       Further, BOKF and the Committee provide no basis for why the Court should

 recharacterize the closing fee as creating a form of unmatured interest, 6 rather than enforce the

 clear terms of the Credit Agreement as written. Under New York law, which governs the Credit

 Agreement, clear and unambiguous contracts must be enforced as written. See, e.g.,

 PaineWebber Inc. v. Bybyk, 81 F.3d 1193, 1199 (2d Cir. 1996) (“[I]n interpreting a contract, the

 intent of the parties governs, and therefore a contract should be construed so as to give full

 meaning and effect to all of its provisions. . . . [W]ords and phrases are given their plain

 meaning.” (internal quotation marks, alterations and citations omitted)); Am. Express Bank Ltd.

 v. Uniroyal, Inc., 164 A.D. 2d 275, (1st Dept. 1960) (resort to extrinsic facts is inappropriate

 where language is plain and unambiguous); see also Credit Agreement § 10.14(a) (governing

 law).

 II.       No Law or Credit Agreement Term Supports Treating the Value of the Warrants as
           Original Issue Discount.

           6.       The Claim Objections allege that the Second Lien Loan generated $84 million of

 OID based on the market value of SunEdison shares (and thus the Warrants) when the Warrants

 were issued. Consequently, BOKF and the Committee assert that the unaccreted alleged OID

 generated by the Warrants constitutes “unmatured interest” that should be disallowed under

 Section 502(b)(2). The Court should overrule the Claim Objections with respect to the Warrant

 OID for several reasons.

           7.       To begin with, as with the Tranche A-1 Closing Fee, the Warrants were fully

 earned and paid at Closing. BOKF alleges that “the Warrants thus constitute a form of interest

 intended to provide additional compensation to the Second Lien Lenders in exchange for their

 6
     Any reliance on tax law by BOKF and the Committee as a basis for recharacterizing the closing fee as OID
     should be disregarded because, as discussed further below, tax law does not dictate the treatment of a transaction
     in bankruptcy. See Part II supra.



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 extension of funds.” BOKF Br. ¶ 13. But even if the Warrants are viewed as a form of interest,

 it does not follow that their value should be disallowed under the Bankruptcy Code. To the

 contrary, the plain language of Section 502(b) provides that only unmatured interest shall be

 disallowed. If the warrants are viewed as interest, then they must be viewed as interest that

 matured at closing, when they were issued.

        8.      The fact that the Warrants may be treated as generating OID for tax purposes does

 not alter this analysis. The Second Circuit has expressly stated that the tax treatment of a

 transaction does not dictate its treatment under the Bankruptcy Code. See Chateaugay, 961 F.2d

 at 383 (citing In re PCH Assocs., 55 B.R. 273 (Bankr. S.D.N.Y. 1985) (agreement structured as

 ground lease for tax benefits treated as joint venture under Bankruptcy Code)). In Chateaugay,

 the Second Circuit held that a debt exchange did not create OID that resulted in disallowable

 unmatured interest, notwithstanding that the exchange resulted in OID under the Tax Code. See

 id. (reversing bankruptcy court and explaining that “The cases upon which the bankruptcy court

 relied in reaching a contrary conclusion are distinguishable. The court found support . . . by

 looking to tax cases, because under the Internal Revenue Code, for purposes of determining

 taxable income, an exchange offer generates new OID.” (emphasis added)). Other cases have

 similarly held that the bankruptcy treatment and tax treatment of a transaction need not be the

 same. See, e.g., In re Pengo Indus., Inc., 962 F.2d 543, 550 (5th Cir. 1992) (“[T]his is not a tax

 case. We stress that the tax treatment of original issue discounting does not control our inquiry,

 which is placed firmly within the bankruptcy framework.”).

        9.      Neither BOKF nor the Committee provide any basis for disregarding the Second

 Circuit’s holding that tax law does not determine the allowance of a claim in bankruptcy. In fact,




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 the two circuit cases cited by BOKF apply tax law in non-bankruptcy, non-Section 502(b) cases

 outside of this Circuit.

         10.     The sole bankruptcy case cited by BOKF is In re Solutia, Inc., 379 B.R. 473

 (Bankr. S.D.N.Y. 2007) (03-17949). In Solutia, lenders provided the debtors with $200.7

 million in return for $223 million in notes (the “Solutia Notes”) and certain warrants exercisable

 for common stock. Id. at 476. The Solutia Notes bore the following legend: “THIS SECURITY

 IS ISSUED WITH ORIGINAL ISSUE DISCOUNT FOR THE PURPOSES OF SECTION 1271

 et seq. OF THE INTERNAL REVENUE CODE. FOR EACH $1,000 PRINCIPAL AMOUNT

 AT MATURITY OF THIS SECURITY, THE ISSUE PRICE IS $814.85 AND THE AMOUNT

 OF ORIGINAL ISSUE DISCOUNT IS $185.15. THE ISSUE DATE OF THIS SECURITY IS

 JULY 9, 2002 AND THE YIELD TO MATURITY IS 15.751%.” Id. at 477. The $41.30 of

 OID reflected in the legend appears to have been calculated by deducting from the Solutia Notes’

 face value the $22.3 million that exceeded the loan proceeds received by the debtor, plus an

 additional $19 million.

         11.     The Indenture Trustee for the Solutia Notes (which were oversecured) submitted a

 claim for the full face value of the Solutia Notes of $223 million. Id. at 480. The debtors and the

 creditors’ committee objected to that claim, arguing that the amount of unaccrued OID as of the

 effective date should be disallowed. Id. The court granted the objection, noting, based on the

 legend on the Solutia Notes, that “[o]f the proceeds received by Solutia, by simple mathematical

 calculation $181,771,550 represented the discounted issue price for the 2009 Notes.” Id. at 477.

         12.     Solutia is not determinative of whether the Warrants create tax OID that should be

 treated as disallowable unmatured interest under Section 502(b). Solutia did not involve a rescue

 financing into a distressed borrower and so the court had no reason to consider the potential



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 applicability of Chateaugay. Rather, the court unquestioningly accepted, without analysis, that

 for purposes of Section 502(b), the Solutia Notes included the legended OID and such triggered

 unmatured interest. Id. at 486. The court then addressed only whether the Solutia noteholders

 were entitled to recover the entire balance of the $223 million face value, even if it included

 OID, because the indenture defined the “principal” amount of the Solutia Notes as $223 million,

 the debtors were solvent, and the lenders were oversecured and the debtors were solvent.

 Solutia, 379 B.R. at 487. Moreover, the Tranche A-1 and Tranche A-2 notes associated with the

 Credit Agreement do not contain the legend borne by the Solutia notes.

        13.     Finally, the Claim Objections should be overruled for the additional reason that

 treatment of the Warrants as OID that creates disallowable unmatured interest is inconsistent

 with the policy rationales articulated by the Second Circuit in Chateaugay and later by this Court

 in In re Residential Capital, LLC, 501 B.R. 549 (Bankr. S.D.N.Y. 2009). As explained by the

 Ninth Circuit, courts do not base their determinations as to whether a claim includes unmatured

 interest for Section 502(b)(2) purposes “on economic theories of interest.” Thrifty Oil Co., 322

 F.3d at 1047. Instead, courts look to the policies underlying Section 502(b)(2) and the

 Bankruptcy Code generally, and the cases “often turn on whether allowance or disallowance will

 contravene bankruptcy policy, unfairly prejudice other creditors or provide a windfall to the

 debtor” Id.; accord Chateaugay, 961 F.2d at 382–83 (citing bankruptcy policy as the key

 determining factor in the application of Section 502(b)(2)).

        14.     In both Chateaugay and ResCap, the courts refused to disallow alleged

 unamortized OID generated by distressed debt exchanges because it could “disincentive []

 creditors to cooperate with a troubled debtor” and reward holdouts who refuse to cooperate in

 consensual out-of-court workouts. Chateaugay, 961 F.2d at 382; see also ResCap, 501 B.R. at



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 588. In Chateaugay, the Second Circuit explained that given “Congress’s intent to encourage

 consensual workouts and the obvious desirability of minimizing bankruptcy filings,” the Court

 had to consider the “ramifications of a rule that places a creditor in the position of choosing

 whether to cooperate with a struggling debtor, when such cooperation might make the creditor’s

 claims in . . . bankruptcy smaller than they would have been had the creditor refused to

 cooperate.” Chateaugay, 961 F.2d at 382–83. ResCap extended Chateaugay’s holding to fair

 value exchanges, because it found that like the face value exchange in Chateaugay, fair value

 exchanges “offer companies the opportunity to restructure out-of-court, avoiding the time and

 costs—both direct and indirect—of a bankruptcy proceeding.” See ResCap, 501 B.R. at 588.

           15.     Significantly, in Chateaugay, the “face value” exchange included stock in

 addition to the new face value debt securities. The bondholders received a new note with a face

 amount equal to the face amount of the old note, plus 15 shares of common stock for each $1,000

 of notes. See Chateaugay, 961 F.2d at 380. In the month the exchange occurred the stock

 trading price ranged from $5.50 to $7.25 a share, 7 so that in rough approximation the

 bondholders received a new note with a face amount of $1,000 plus $100 month of equity. Yet

 the case did not treat the new notes as having $100 of imbedded OID and unmatured interest

 attributable to the equity.

           16.     The principles that guided the Chateaugay and ResCap courts apply equally, if

 not more so (because of the infusion of $725 million of new money) here. At the time of the

 January Workout, SunEdison was distressed; indeed, as the Committee acknowledges it was

 suffering a “liquidity crisis.” See Compl. ¶¶ 110, 135. The January Workout was a

 comprehensive restructuring that included an exchange (i.e., the Notes Exchange), new money


 7
     Bloomberg L.P. “Historical Price Table for LTV Corporation 5/16/86 to 6/16/86,” attached hereto as Exhibit 4.



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 lending (i.e., the Second Lien Loan) with an equity kicker (i.e., the Warrants), a debt for equity

 exchange, and an exchange of preferred stock into common stock. As the transaction documents

 and public filings demonstrate, the January Workout was a collective effort by existing lenders

 and others through a series of intertwined transactions to provide SunEdison with rescue

 financing and allow it to restructure existing debt and equity. For example, the Credit

 Agreement provides that the loan proceeds were to be used to “pay fees and expenses related

 to . . . the issuance of the Second Lien Convertible Notes and the transactions related thereto.”

 See, e.g., Credit Agreement at Recitals ¶ 2. A single lien was granted to secure both the Second

 Lien Loan and the new notes issued under the Notes Exchange. See Second Lien Pledge and

 Security Agreement § 2.1. 8 SunEdison’s public filings also reveal the interrelated nature of the

 Notes Exchange, the Second Lien Loan and the Warrants:

                  In conjunction with the exchange transactions, [SunEdison] and certain
          parties have also agreed to enter into a new $725 million second lien credit
          facility pursuant to which such parties will fund a new credit facility. . . . A1
          lenders under the new credit facility will also receive warrants exercisable at any
          time for an aggregate of 19.8 million shares of common stock at an exercise price
          of $0.01 (the “warrant shares”). A2 lenders under the new credit facility will also
          receive warrants exercisable at any time for an aggregate of 8.9 million shares of
          common stock at an exercise price of $0.01 (the “warrant shares”). The net
          proceeds from the new credit facility will be used to repay all of the
          approximately $170 million of outstanding indebtedness under SunEdison’s
          existing second lien credit facility, interest, transaction costs, and for general
          corporate purposes. The remaining net proceeds will be used for general corporate
          purposes. . . .
          ....
                  The exchange transactions, SunEdison’s entry into the new credit
          facility and the related issuance of warrants are expected to close on January
          11, 2016 . . . .



 8
     The relevant excerpt of the Second Lien Pledge and Security Agreement is attached as Exhibit C to the
     Declaration of Deborah J. Newman in Support of Second Lien Defendants’ Motion to Dismiss. See AP Doc. 26-
     3. The Collateral Trust Agreement dated January 11, 2016 is attached as Exhibit 5 (without the accompanying
     exhibits).



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 See 1/7/16 8-K (emphasis added). Neither BOKF nor the Committee can dispute that the

 Notes Exchange, Second Lien Loan and the Warrants were part of a holistic workout.

        17.     Disallowing a portion of the Claim because of alleged OID generated by the

 Warrants will discourage workouts, like the January Workout, that use equity kickers to induce

 an infusion of new money. Equity kickers, like the Warrants, are in the tool kit of consideration

 available to be offered by distressed borrowers to entice existing lenders into workouts. An

 equity kicker was successfully deployed in Chateaugay to effectuate an attempted out of court

 restructuring, without resulting in imputed OID. Indeed, the equity kicker in Chateaugay

 resembled that present here—in Chateaugay, it was actual stock, and here it was cashless

 exercise warrants that were immediately exercisable. If those equity kickers have the real risk of

 reducing a creditor’s claim in bankruptcy (for new money lending), then creditors will

 increasingly refuse to accept warrants or other equity kickers as a form of consideration and

 insist on other terms less advantageous to the distressed borrower, e.g., higher coupons, tougher

 covenants, lower loan to value ratios. Or, more simply, available capital providers may simply

 insist on providing capital, or different terms on existing capital, only in the form of a DIP

 financing. Borrowers will be stripped of a powerful workout tool, consensual workouts will be

 less accessible and bankruptcy filings will inevitably increase—exactly what Chateaugay and

 ResCap sought to avoid, and what SunEdison sought to avoid here. For these reasons, the Court

 should apply the principles of Chateaugay and ResCap, and refuse to disallow the Claim on

 account of any unamortized OID.




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                                            CONCLUSION

        18.     WHEREFORE, WSFS and the Tranche B Lenders/Steering Committee

 respectfully request that the Court overrule the Claim Objections, and grant such other and

 further relief as the Court deems just and proper.

 Dated: New York, New York                     Respectfully submitted,
        January 31, 2017
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